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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                   Criminal Action No. 10-20388-1
vs.
                                                            HON. MARK A. GOLDSMITH
D-1 LAMONTE WATSON, JR.,

            Defendant.
_____________________________/

                   ORDER STRIKING DOCKET ENTRY NOS. 202 & 203

       Defendant Lamonte Watson, Jr. is represented in this action by counsel, Amy Grace Gierhart.

Nevertheless, acting pro se, Defendant filed a Motion to Dismiss for Ineffective Assistance of

Counsel (DE #202) and a Notice of Joinder/Concurrence in Motions by Co-Defendants (DE #203)

on December 9, 2010.

       Since Defendant is represented by counsel, Defendant is attempting to proceed in a “hybrid”

fashion, both through counsel and pro se by way of his submission. See McKaskle v. Wiggins, 465

U.S. 168, 183 (1984). Although the Sixth Amendment guarantees defendants the right to conduct

their own defense by representing themselves, see Faretta v. California, 422 U.S. 806 (1975), the

right of self-representation does not include the right to proceed in a hybrid manner. See McKaskle,

465 U.S. at 183 (“Faretta does not require a trial judge to permit ‘hybrid’ representation”). See also

United States v. Mosely, 810 F.2d 93, 97-98 (6th Cir. 1987) (“the question whether to allow a

defendant to participate in his own defense along with counsel in ‘hybrid representation’ is a matter

committed to the sound discretion of the trial court”).

       The Court, in the exercise of its discretion, will not permit Defendant to proceed in a hybrid

manner. Therefore, Defendant’s pro se submissions—docket entry numbers 202 and 203—are

stricken from the record. Any relief sought by Defendant must be sought through counsel unless
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Defendant elects to exercise his right to proceed without counsel.

       SO ORDERED.

Dated: December 9, 2010                             s/Mark A. Goldsmith
       Flint, Michigan                              MARK A. GOLDSMITH
                                                    United States District Judge

                                CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served upon counsel of record
and any unrepresented parties via the Court’s ECF System to their respective email or First Class
U.S. mail addresses disclosed on the Notice of Electronic Filing on December 9, 2010.

                                                     s/Deborah J. Goltz
                                                     DEBORAH J. GOLTZ
                                                     Case Manager
